UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NORTH CAROLINA

UNITED STATES TRUST COMPANY, N.A.,

Plaintiff,
COMPLAINT
V.
STANFORD GROUP COMPANY
Defendant.

 

 

Plaintiff United States Trust Company, N.A. (including all predecessors in interest, “U.S.
Trust” or “Plaintiff’) hereby brings this Complaint for damages and other relief against
defendant Stanford Group Company (“Stanford Group”) as follows:

INTRODUCTION

1. In July 2007, Stanford Group opened its 17" U.S. Private Client Group in
Greensboro, North Carolina, in direct competition with U.S. Trust. Rather than building the
business in this office legally, Stanford Group induced eleven of U.S. Trust’s Greensboro
employees to resign from U.S. Trust and immediately begin utilizing the confidential business
information that they gained while working at U.S. Trust to solicit U.S. Trust’s clients. The
employees induced to leave U.S. Trust were the primary contacts for approximately 90% of U.S.
Trust’s clients serviced from the Greensboro office. Also, these departures were secretly
coordinated and carefully planned to take advantage of the transition in the ownership of U.S.
Trust, which was acquired by a subsidiary of Bank of America Corporation (“BAC”) effective

July 1, 2007. Around the same time, Stanford Group induced an employee of U.S. Trust’s

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Charlotte office to resign, and to immediately begin utilizing the confidential information that he
gained while working at U.S. Trust to solicit U.S. Trust’s clients. Just in the last two months,
Stanford Group continued its North Carolina expansion, by recruiting two additional U.S. Trust
Greensboro employees, both with knowledge of U.S. Trust’s confidential business information.
By these raids, the Stanford Group seeks to steal, rather than lawfully develop or purchase,
extensive client relationships and goodwill associated with these employees.

2. Beyond the unfair competition and tortious conduct reflected by these actions,
Defendant’s competition, solicitation of U.S. Trust employees and use of U.S. Trust’s
confidential information and trade secrets caused former employees of U.S. Trust to breach
various contractual agreements, including covenants not to compete, non-solicitation agreements
and confidentiality agreements.

3. When the former U.S. Trust employees resigned from U.S. Trust, they refused to
disclose the identity of their new employer. Once U.S. Trust learned this information, it
demanded that the former employees abide by their contractual obligations. U.S. Trust also
informed Stanford Group about the individuals’ post-employment restrictions and sought
assurances from Stanford Group that it would not allow the employees to violate their
contractual obligations. However, it is unfortunately clear from the individuals’ continued
efforts to solicit their former clients and public statements made by representatives of Stanford
Group that they intend to continue their unlawful conduct. Therefore, U.S. Trust filed this action
asserting claims for: (i) tortious interference with contractual relations; (ii) tortious interference
with business relations; (iii) unfair competition; and (iv) misappropriation of trade secrets.

PARTIES, JURISDICTION AND VENUE

4. U.S. Trust is a corporation organized under the laws of Delaware with its

principal place of business located at 114 West 47th Street, New York, New York 10036. U.S.

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Trust is a former subsidiary of U.S. Trust Corporation “USTC”) and regularly does business in
Charlotte, Mecklenburg County, North Carolina. On July 1, 2007, a subsidiary of Bank of
America Corporation acquired U.S. Trust by purchasing all of its stock.

5. Stanford Group is a corporation organized under the laws of Texas with its
headquarters in Houston, Texas. Stanford Group is registered to do business in North Carolina
and maintains its primary North Carolina office in Charlotte, Mecklenburg County, North
Carolina. Upon information and belief, Stanford Group’s Executive Director of the Carolinas
Region is also based in Charlotte.

6. Jurisdiction is proper pursuant to 28 U.S.C. § 1332.

7. Venue is proper in this Court pursuant 28 USS.C. § 1391.

THE FACTS
A. U.S. Trust’s Business

8. U.S. Trust is a financial services company that offers fully integrated wealth
management solutions including investment management, planning services, trust and fiduciary
services, and deposit and credit services.

9, U.S. Trust purchased North Carolina Trust Co. (“NC Trust”) in May of 1999. As
a result of the transaction, all NC Trust employees became U.S. Trust employees. In January of
2000, Charles Schwab Corporation purchased U.S. Trust.

10. The services offered by U.S. Trust through its Greensboro and Charlotte offices
fall primarily into two categories: (1) wealth management services to individual clients (“Wealth
Management Services”), and (2) investment management services to institutional clients
(“Institutional Services”). The individuals hired by Stanford Group provided Wealth

Management Services to U.S. Trust’s individual clients.

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11. With respect to its Wealth Management Services, all of U.S. Trust’s clients are
divided between, and serviced by, Relationship Management Teams and Wealth Managers. The
Relationship Management Teams and Wealth Managers help clients access various specialized
services offered by U.S. Trust that suit the clients’ particular needs.

12. Each Relationship Management Team is headed by a Relationship Manager. The
Relationship Manager is assisted by an Associate Relationship Manager and a Client Service
Officer. Each Relationship Management Team and Wealth Manager is also supported by other
U.S. Trust employees, including Porifolio Managers, Investment Specialists, Wealth Structuring
Specialists and Bankers.

13. The Relationship Manager is the core business development officer and
relationship manager for typically larger U.S. Trust clients. Relationship Managers are
responsible for marketing the services offered by U.S. Trust to prospective clients and
overseeing delivery of those services to clients. Relationship Managers are often provided with
the names of prospective clients by U.S. Trust and/or its affiliates. Upon identifying and meeting
a prospective client, Relationship Managers work with the Relationship Management Team and
other U.S. Trust affiliates to attract and ultimately service the client.

14. Associate Relationship Managers work closely with U.S. Trust clients on day-to-
day business dealings. Indeed, the Associate Relationship Manger is the primary person for the
client with regard to everyday requests and needs. Thus, Associate Relationship Managers learn
cach customer’s particular needs and preferences and are charged with ensuring that each client’s

needs are fulfilled.

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15. | Wealth Managers are the primary relationship managers for relatively smaller or
less complex U.S. Trust clients. Wealth Managers are responsible for coordinating the delivery
of the comprehensive Wealth Management platform to U.S. Trust clients.

16. | Client Service Officers are responsible for all of the transactional flow of client
activity and/or follow-up needed for U.S. Trust client accounts. Through these responsibilities,
Client Service Officers also learn detailed information about clients and client accounts.

17. Portfolio Managers are responsible for assessing client risk tolerance, establishing
asset allocation, goals and strategies, and the selection of individual stocks for client portfolios.
Portfolio Managers provide a specialized service and are ordinarily chosen by Relationship
Managers or assigned by an office manager to work on specific client accounts. Investment
Specialists work closely with U.S. Trust’s clients to assess risk tolerance and establish asset
allocation, to comprehensively evaluate equities and funds, and develop customized allocation
models with strategically chosen investments suited to meet the client’s financial objectives.
Wealth Structuring Specialists also work closely with clients, providing customized financial,
wealth and estate planning services to the U.S. Trust’s clients. Investment Specialists and Wealth
Structuring Specialists are available to work on specific client accounts at the request of
Relationship Managers.

18. U.S. Trust expends substantial sums to attract and service its Wealth Management
clients. U.S. Trust pays and employs its Wealth Management employees to create, maintain and
cement U.S. Trust’s relationships with its Wealth Management clients. In addition to their
compensation, which includes base pay, bonuses and additional compensation for attracting new
clients, Wealth Management employees are reimbursed for the significant expenditures incurred

in connection with client entertainment and development. Also, U.S. Trust spends a significant

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amount of money to advertise its services nationally in an effort to generate name recognition
and goodwill.
B. The Stanford Group’s North Carolina Expansion

19. Stanford Group Company is a member of the Stanford Financial Group of
Companies, a global network of privately held, wholly owned financial service companies
founded by Lodis B. Stanford in 1932.

20. Stanford Group’s core business is wealth management for high-net worth
individuals.

21, U.S. Trust and Stanford Group are competitors in providing wealth management
services.

22. Upon information and belief, Stanford Group opened its first North Carolina
office in Charlotte in 2006, and staffed it by hiring several employees from the Private Bank of
Bank of America.

23. Greensboro marks Stanford Group’s 17" U.S. Private Client Group office.

24, In addition to Greensboro and Charlotte, the company has offices in Boca Raton,
Miami and Longboat Key, FL; Houston, Dallas, and Austin, TX; Memphis and Nashville, TN;
Denver, Colorado; Atlanta, Georgia; Little Rock, Arkansas; Baton Rouge and Lafayette, LA; and
Jackson and Tupelo, MS.

25. The Stanford Group Greensboro team consists of Managing Directors John Rich
and Glenda Burkett; Senior Vice Presidents M. Jo Brooks, Ken Dimock, Anthony Monforton,
Virginia Saslow, William “Wes” Wastson; Suzanne Wilcox, Sandy Boes, Kim Lemons, and Kim

van Zee (collectively, the “Greensboro team”).

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26. On July 12, 2007, Stanford Group sent out a press release to media outlets
identifying the members of its newly formed Greensboro office. All members identified in the
July 12, 2007 press release are all former employees of U.S. Trust.

27. Following the initial formation of the Greensboro office, Stanford Group
continued its raiding of U.S. Trust employees, by recruiting John “Whit” Wilks to join Stanford
Group’s Charlotte office, and recruiting Tracy Ross and Rhonda Tate to join Stanford Group’s
Greensboro office.

Cc, The Former Employees

28. John Rich is a former Regional Investment Manager and Portfolio Manager of
U.S. Trust’s Greensboro office. Rich began employment with U.S. Trust in or about December
5, 1988. Rich had extensive client contact with a substantial number of clients serviced by US.
Trust and client relationship management responsibility. Rich participated in planning and
development sessions with senior level U.S. Trust officers regarding the continued delivery of
investment services to clients following the BAC acquisition.

29. Glenda Burkett is a former Relationship Manager and Business Development
Officer employed by U.S. Trust in the Greensboro office. Burkett began her employment with
U.S. Trust in July of 1994. At the time of her resignation, Burkett was Senior Vice President,
Business Development for U.S. Trust. Burkett had extensive client contact with a substantial
number of U.S. Trust clients and was responsible for developing business and interacting with
clients serviced by U.S. Trust’s Greensboro office and throughout the region.

30. Anthony Monforton is a former Portfolio Manager employed by U.S. Trust in the
Greensboro office. Monforton began his employment with U.S. Trust in June of 1994. At the

time of his resignation, Monforton was Senior Vice President and Portfolio Manager of U.S.

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Trust. Monforton also had extensive client contact with a substantial number of U.S. Trust
clients and was responsible for interacting with clients and managing client relationships
serviced by U.S. Trust’s Greensboro office and throughout the region.

31. Martha Jo Brooks is a former Associate Relationship Manager and Client
Relationship Officer employed by U.S. Trust in the Greensboro office. Brooks began her
employment with U.S. Trust in June of 1992. At the time of her resignation, Brooks was Senior
Vice President of U.S. Trust. Brooks had extensive client contact and managed client
relationships serviced by U.S. Trust’s Greensboro office.

32. Ken Dimock is a former Wealth Manager and Client Relationship Officer
employed by U.S. Trust in the Greensboro office. Dimock began his employment with U.S.
Trust in June of 1985. At the time of his resignation, Dimock was a Senior Vice President of
US. Trust. Dimock had extensive client contact and managed client relationships serviced by
U.S. Trust’s Greensboro office.

33. William “Wes” Watson is a former Wealth Manager employed by U.S. Trust in
the Greensboro office. Watson began his employment with U.S. Trust in September of 1991, At
the time of his resignation, Watson was a Senior Vice President of U.S. Trust. Watson had
extensive client contact and managed client relationships serviced by U.S. Trust’s Greensboro
office.

34, Suzanne Wilcox is a former Wealth Manager employed by U.S. Trust in the
Greensboro office. Wilcox began her employment with U.S. Trust in September of 1997. At the
time of her resignation, Wilcox was a Vice President of U.S. Trust. Wilcox had extensive client

contact and managed client relationships serviced by U.S. Trust’s Greensboro office.

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35. Virginia Saslow is a former Associate Relationship Manager and Client
Relationship Officer employed by U.S. Trust in the Greensboro office. Saslow began her
employment with U.S. Trust in August of 1987. At the time of her resignation, Saslow was a
Senior Vice President. Saslow had extensive client contact and managed client relationships
serviced by U.S. Trust’s Greensboro office.

36. Suzanne Boes is a former Portfolio Analyst employed by U.S. Trust in U.S.
Trust’s Greensboro office. Boes began her employment with U.S. Trust in May of 1995.

37. Kim van Zee is a former Relationship Team Administrator employed by U.S.
Trust in U.S. Trust’s Greensboro office. Van Zee began her employment with U.S. Trust in
October of 1995.

38. | Kim Lemons is a former Client Service Officer employed by U.S. Trust in U.S.
Trust’s Greensboro office. Lemons began her employment with U.S. Trust in May of 2000.

39. John “Whit” Wilks is a former Associate Relationship Manager and Client
Relationship Officer employed by U.S. Trust in the Charlotte office. Wilkes began his
employment with U.S. Trust in November 1997. At the time of his resignation, Watson was a
Senior Vice President of U.S. Trust. Watson had extensive client contact and managed client
relationships serviced by U.S. Trust’s Charlotte office and throughout the region.

40. Tracy Ross is a former First Level Officer employed by U.S. Trust in U.S. Trust’s
Greensboro office. Ross begin her employment with U.S. Trust in July 31, 2000.

41. Rhonda Tate is a former First Level Officer employed by U.S. Trust in U.S.
Trust’s Greensboro office. Tate began her employment with U.S. Trust in August 24, 1998.

D. Post-Employment Restrictions

42, _ At the outset of their employment with NC Trust, and at various times during

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their employment with U.S. Trust, its predecessors and successors, Rich, Burkett, Brooks,
Dimock, Monforton, Saslow, Watson and Wilks, agreed in writing to certain post-employment
contractual obligations concerning the use or disclosure of confidential information, the
solicitation of clients and agreement not to compete with Plaintiff following their respective
separations from employment. Rich, Burkett, Brooks, Dimock, Saslow, Watson, and Wilks
received good and valuable consideration for their promises.

Burkett, Brooks, Dimock, Monforton, Saslow, Watson and Wilks

43. Burkett, Brooks, Dimock,' Monforton, Saslow, Watson and Wilks most recently
entered into individual Noncompetition and Nonsolicitation Agreements on February 18, 1998
(the “1998 Noncompete Agreement”). On or about the same day, each employee received a
grant of stock options. The grant of options were expressly conditioned upon and in
consideration for their execution of the agreements.

44. In the 1998 Noncompete Agreements, Burkett, Dimock, Monforton, Brooks,
Saslow, Watson and Wilks each agreed that for a period of twelve (12) months following
termination of their employment, they would not engage in the business of providing investment
management services, company fiduciary services, or otherwise divert any company client or
employee to terminate their association with the company. Specifically, the 1998 Noncompete
Agreement provides, in part:

1. (a) “Restricted Territory" shall mean the State of North Carolina.

2, Restrictions on Competition and Solicitation. During Employee’s
employment by [U.S. Trust] and, if Employee terminates employment with [U.5.

 

1 U.S. Trust has been unable to locate a significant portion of Mr. Dimock’s personnel file,
including his 1998 Noncompete Agreement. Mr. Dimock executed the 1998 Noncompete
Agreement and the Consent Agreement in exchange for his right to cash out and receipt of
unvested NC Trust stock options. Moreover, prior to his departure, Mr. Dimock requested
and received a copy of both agreements.

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Trust] voluntarily or if the employment of Employee is terminated by [U.S. Trust]
for cause, as determined in good faith by the Board of Directors of [U.S. Trust],
for a period of 12 months following such termination:

(a) Employee will not, directly or indirectly through others,
within the Restricted Territory;

(i) Engage in the Company Fiduciary Business? or any
material aspect thereof for Employee’s own account, as an employee or in
any other capacity, including, without limitation, as a partner, officer,
director, member, manager, principal, agent, trustee or consultant; or

(ii) | Engage in the Company Investment Management Business
or any material aspect thereof for Employee’s own account, as an
employee or in any other capacity, including, without limitation, as a
partner, officer, director, member, manager, principal, agent, trustee or
consultant;

provided, however, that nothing herein shall prevent Employee from being
employed by or affiliated with any person or entity if Employee’s duties and
responsibilities for such person or entity are unrelated to any material aspect of
the Company Fiduciary Business or the Company Investment Management
Business and provided further that nothing herein shall prevent Employee from
being a passive investor in any entity; and

(b) Employee will not, directly or indirectly through others, within the
Restricted Territory or elsewhere:

{i) Provide investment management services or fiduciary services of
the type then offered by [U.S. Trust] to or for any Restricted Client’ or supervise,
manage or otherwise assist in the rendering of any such services to or for a
Restricted Client;

Gi) Provide investment management services or fiduciary services of
the type then offered by [U.S. Trust] to or for any Restricted Territory Client
[defined in the agreement as a Restricted Client having a residence or place of
business in the Restricted Territory];

 

2 Company Fiduciary Business and Company Investment Management Business are defined as
the business of providing fiduciary and investment management services to individuals and
business entities.

3 “Restricted Client” is defined in the agreement as a person or entity who is a client of U.S.
Trust at the time of an employce’s termination or at any time during a period of one year
prior to the employee’s termination, or was otherwise a prospective client listed on certain
U.S. Trust prospect lists.

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(ii) Call upon or cause to be called upon, or solicit or assist in the
solicitation of, any Restricted Client for the purpose of providing to the Restricted
Client any investment management services or fiduciary services of the type then
offered by [U.S. Trust];

(iv) Call upon or cause to be called upon, or solicit or assist in the
solicitation of, any Restricted Territory Client for the purpose of providing to the
Restricted Territory Client any investment management services or fiduciary
services of the type then offered by [U.S. Trust];

(v) Influence or persuade or attempt to influence or persuade any
Restricted Client to terminate his, her or its relationship with [U.S. Trust| or
otherwise interfere or attempt to interfere with the relationship between [U.S.
Trust] and any Restricted Client;

(vi) Influence or persuade or attempt to influence or persuade any
Restricted Client to terminate his, her or its relationship with [U.S. Trust[ or
otherwise interfere or attempt to interfere with the relationship between [U.S.
Trust| and any Restricted Territory Client; or

(vii) Call upon or cause to be called upon, or solicit or assist in the

solicitation of, any employee of [U.S. Trust] for the purpose of persuading or
influencing the employee to terminate his or her employment with [U.S. Trust];

RAK

True and accurate copies of the respective 1998 Noncompete Agreements are attached
hereto collectively as Exhibit 1.

45. Approximately one year later on or about May 14, 1999, NC Trust merged with
U.S. Trust Corporation (‘USTC”). To ensure USTC received the full value of NC Trust’s
goodwill, USTC sought to confirm and continue the obligations set forth in the 1998
Noncompete Agreements.

46. In anticipation of the merger of NC Trust and USTC, Burkett, Brooks, Dimock,
Monforton, Saslow, Watson and Wilks each executed Consent to Continuation of
Noncompetition and Nonsolicitation Agreements (the “Consent Agreements”). True and

accurate copies of the respective Consent Agreements are attached hereto collectively as Exhibit

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47. As consideration for continuing the restrictions, contained in the 1998
Noncompete Agreement, these individuals were paid substantial amounts “cashing out” unvested
NC Trust stock options for which they were not otherwise entitled to receive payment. The

payment to each of these defendants pursuant to the execution of the Consent Agreements was as

follows:
a) Burkett received a payment of $45,637;
b) Brooks received a payment of $27,555;
c) Dimock received a payment of $42,187;
d) Monforton received a payment of $76,537;
e) Saslow received a payment of $3,581;
f) Watson received a payment of $15,256;
g) Wilks received a payment of $10,260.
John Rich

48. In consideration for Rich’s participation in The Charles Schwab Corporation 2004

Stock Incentive Plan, Rich executed an agreement with U.S. Trust in 2004 in which he agreed
that for certain periods during and after his employment with U.S. Trust, he would not engage in
any business competitive with U.S. Trust, or otherwise divert U.S. Trust clients or employees to
terminate their association with U.S. Trust (the “Rich Employment Agreement’). The Rich
Employment Agreement provides, in relevant part:

2, Non-Solicitation of Clients and Employees.

To further protect Confidential and Proprietary Information of U.S. Trust

and the good will associated with the client and prospective client relationships of
U.S. Trust, you agree that:

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a) during your employment with U.S. Trust, and for a period
of twelve (12) months following termination of your employment
with U.S. Trust, you will not, directly or indirectly, solicit or
induce existing or prospective U.S. Trust clients, to whom you
provided services or with respect to whom you devoted efforts
seeking to provide such services, to transfer or divert business
from U.S. Trust or otherwise to avoid, diminish or discontinue a
relationship with U.S. Trust and

b) during your employment with U.S. Trust, and for a period
of twelve (12) months following termination of your employment
with U.S. Trust, you will not, directly or indirectly, solicit, induce
or encourage any U.S. Trust employee to terminate employment
with U.S. Trust to join a business competitive with the business of
U.S. Trust.

A true and accurate copy of the Rich Employment Agreement is attached hereto as Exhibit 3.

49. In the Rich Employment Agreement, Rich further agreed that he would not
improperly use or disclose U.S. Trust’s confidential and proprietary information, and that he
would further return all such information immediately upon termination of his employment. The

Rich Employment Agreement provides, in relevant part:

1. Confidential and Proprietary Information.

In connection with your employment by U.S. Trust you will have (and you
hereby acknowledge you have) access to sensitive, non-public information
of U.S. Trust and its clients including, but not limited to: a) client-related
information (i.e. client names, client contact information, client lists, client
account contents and statements, investment, estate and taxation strategies,
current and historical investment performance data, etc.) b) employee,
vendor and independent contractor information (i.e. names and contact
information, personal and financial information, services, compensation,
rate structures, etc.) and c) business information of U.S. Trust (ie.
financial performance, marketing, sales, product and regulatory
information etc.) (collectively "Confidential and Proprietary
Information"). You agree that you will not disclose or permit or facilitate
disclosure of Confidential and Proprietary Information to persons outside
of U.S. Trust or use such information for purposes other than as
specifically authorized by U.S. Trust for purposes intended by U.S. Trust.

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3. Return of Records

Immediately upon termination of your employment with U.S. Trust, you
agree to return all Confidential and Proprietary Information in your
possession, custody and control to U.S. Trust and provide a sworn
certification that you have done so.

50. Saslow, Watson, Wilcox and van Zee each executed a Confidentiality and
Nondisclosure Agreement (“Confidentiality and Nondisclosure Agreement”) wherein they
agreed not to use or disclose U.S. Trust’s proprietary information outside of their employment,
and to return all U.S. Trust proprietary information upon termination of their employment with
US. Trust.t Specifically, the Confidentiality and Nondisclosure Agreements provide, in relevant
part:

(2) I hereby agree that all Proprietary Information will be the sole
property of [U.S. Trust], and I hereby assign to [U.S. Trust] all rights I
may have or acquire in Proprietary Information prepare or developed by
me at any time as an employee of [U.S. Trust]. At all times, both during
my employment by [U.S. Trust] and thereafter, I will keep in confidence
all Proprietary Information, and I will not use or disclose any Proprietary
Information without the written consent of [U.S. Trust], except as
disclosure may be necessary in the ordinary course of my duties as an
employee of [U.S. Trust].

(3) All documents, records, tapes, disks, and other physical property
(and all copies thereof), whether or not pertaining to Proprietary
Information, furnished to me by [U.S. Trust] or produced by me as an
employee of [U.S. Trust] shall be and remain the sole property of [U.S.
Trust] and shall be returned immediately as and when requested by [U.S.
Trust]. Even if not specifically requested by [U.S. Trust], I agree that I
will return and deliver all such property upon termination of my
employment for any reason and that I will not take with me any such
property or any copies of such property.

 

¢ Defendant Rich also agreed not to improperly use or disclose confidential or proprietary
information in the Rich Employment Agreement referenced above.

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51.
to use or disclose U.S. Trust’s proprietary and confidential information outside of her

employment or for her own benefit (the “Lemons Agreement”).

As acondition of her employment with U.S. Trust, Lemons expressly agreed not

Agreement provides, in relevant part:

52.
of U.S. Trust also agreed to abide by certain confidentiality and non-disclosure obligations.
Specifically, they cach agreed and certified on an annual basis that he or she would abide by the
U.S. Trust Corporation Code of Business Conduct and Ethics (the “Code”). The relevant

portions of the Code that is acknowledged in each former employee most recent Electronic

As a condition of your employment with [U.S. Trust] you agree never to use for
your own benefit, or disclose to or use for the benefit of any other person or firm,
any confidential or proprietary information of U.S. Trust or any client or
prospective client of U.S. Trust. You recognize that all confidential information,
whether or not prepared by you in whole or in part, is the exclusive property of

U.S. Trust.

In addition to their other agreements and obligations, all of the former employees

Acknowledgments provide in pertinent part as follows:

Individual Conduct

The following general principles guide your individual conduct:

You will not take any action that will violate the letter or spirit of any
applicable law or regulation.

You will adhere to the highest standards of ethical conduct.

You will maintain the confidentiality of all information you obtain in the
course of your employment or directorship.

You will escalate issues which you reasonably believe may place the Firm at
risk, and report any behavior you reasonably believe is wrong.

You will not abuse or take the Firm's assets or use them for your personal
gain.

You will not engage in any activities that create a conflict of interest
between you and the firm.

You will not act in a manner that brings discredit on the Firm.

You will deal fairly with clients, colleagues and others.

You will comply with Firm Policies.

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Specifically, the Lemons
Confidentiality of Information

Confidentiality of Client Information

As a financial services firm, we have particular responsibilities for safeguarding
the information of our clients and the proprietary information of our Firm. You
should be mindful of this obligation when you use the telephone, fax, electronic
mail, and other electronic means of storing and transmitting information. You
should not discuss confidential information in public areas where it can be
overheard, read confidential documents in public places, nor leave or discard
confidential documents where they can be retrieved by others. You should not
discuss the affairs of the Firm with anyone except on a need-to-know basis. This
includes family members and anyone at any other firm you may be associated
with or transact business with on behalf of U.S. Trust. Jf you have questions, you
should contact the Corporate Compliance Division or the Office of the General
Counsel.

Privacy of Client information

U.S. Trust is committed to safeguarding its clients' privacy. We do not sell any
personally identifiable client information. Sharing of such information with third
parties is limited to situations related to the processing and servicing of client
accounts, and to specifically delineated exceptions in the applicable privacy law.
We share information with our affiliates as allowed by applicable law. You must
be familiar with the firm's Privacy Policy and with the procedural and systemic
safeguards we maintain to protect this information and must report any breaches
of these safeguards in accordance with the Firm's procedures.

Within U.S. Trust, information concerning the identity of clients and their
transactions and accounts must always be handled with care. Such information
may not be disclosed to persons within the firm unless they need to know it in
order to fulfill their responsibilities to the Firm.

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Protection and Use of Proprietary Information of the Firm

You have the responsibility to safeguard proprietary information of the Firm.
Proprietary information includes but is not limited to intellectual property
(copyrights, trademarks or patents or trade secrets), particular know-how
(business or organizational designs, or business, marketing or service plans or
ideas) and sensitive information about the Firm (databases, records, client-related
information, salary information or unpublished financial reports).

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E. Stanford Group’s Wrongful Conduct with Respect to the Greensboro office

53. In November of 2006, BAC announced that it would acquire U.S. Trust, subject
to regulatory approval. The intended closing date of the transaction was expected to be late first
quarter of 2007, or early second quarter. During the first quarter of 2007, BAC announced the
closing was expected to be effective July 1, 2007.

54. U.S. Trust employees, including employees and officers in the Greensboro office,
held planning and development sessions to prepare for the delivery of investment services
following the acquisition on July 1, 2007. John Rich, in particular, participated in multiple
planning and development sessions with senior U.S. Trust officials in order to prepare the
Greensboro office for the acquisition.

55. Upon information and belief, prior to the effective date, Stanford Group had been
for some time encouraging and inducing the Greensboro team to resign en mass and use U.S.
Trust’s clients, trade secrets, and confidential and proprietary information using U.S. Trust’s
assets and information. For example, records available to U.S. Trust as of the date of filing show
that Burkett was having regular telephone conversations with representatives of the Stanford
Group on her cellular phone which was paid for and owned by U.S. Trust.

56. Late in the afternoon on June 29, between 4:45 and 5:00 p.m., Saslow, Brooks
and Dimock all resigned in succession. Saslow, Brooks and Dimock e-mailed Steve Frost,
Managing Director for the Greensboro office, while he was out of the office on vacation and
informed him that they had left letters on his desk notifying U.S. Trust of their immediate
resignation. None of these employees provided U.S. Trust with any advance notice of their

intended resignation, nor did they disclose their new employer.

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57. Frost canceled his vacation and returned to the Greensboro office. Beginning at
7:30 a.m. on Monday, July 2, 2007, Rich, Burkett, Monforton, Watson, Boes, Wilcox, van Zee
and Lemons all resigned en masse. Rich, Burkett, Monforton, Watson, Boes and Wilcox
provided Frost with letters notifying U.S. Trust of their immediate resignation. Van Zee and
Lemons tendered their resignation letters to their immediate supervisor, Leslie Ellis.

58. None of the members of the Greensboro team provided U.S. Trust with any
advance notice of their intended resignation. In fact, upon tendering their resignation, the
Greensboro team members would not even inform Frost that they would be immediately working
with the Stanford Group. When Frost asked Rich where he would be working, Rich simply
replied, “no comment.” The other employees also refused to provide Frost any information
regarding their new employer in a similar fashion.

59, Upon information and belief, each member of the Greensboro team began
employment with the Stanford Group the day of their resignation from U.S. Trust, and in fact
had meetings in Stanford’s Charlotte office that day.

60. In executing this raid on U.S. Trust’s Greensboro office, the Stanford Group
obtained for itself nearly all of the Greensboro office’s senior members of its client services
team. They represented the primary contacts for approximately 90% of the Greensboro office’s
clients.

61. | While at U.S. Trust, the Greensboro team serviced clients who produced more
than $13 million in annual revenues for U.S. Trust in 2006 alone, and who were responsible for
managing approximately $1.9 billion in client assets under U.S. ‘Trust management.

62. It is clear that the Greensboro team had been secretly planning a mass resignation

and raid of U.S. Trust’s clients, trade secrets, and confidential and proprietary information for

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some time. On June 23, 2007, Wilcox forwarded an extensive, confidential U.S. Trust client list
to her personal e-mail account (the “Wilcox E-mail”). Wilcox’s actions were in violation of
numerous agreements and in breach of her obligations and duties to U.S. Trust.

63. The information forwarded by Wilcox includes an overwhelming amount of
private client information about hundreds of clients, including customer names, addresses,
telephone numbers, birth dates, last date contacted, type of account, etc.

64. Upon information and belief, following their commencement of employment with
the Stanford Group, the Greensboro team used U.S. Trust trade secrets and confidential
information to commence a pre-planned and systematic campaign of contacting U.S. Trust’s
clients by phone, e-mail and letter. This campaign was designed to induce U.S. Trust’s clients to
terminate their relationships with U.S. Trust and transfer their business to the Stanford Group.

65. Upon information and belief, the Greensboro team is engaging in, and plans to
continue to engage in, inter alia, the following acts:

a. the provision of fiduciary services to individuals, trusts, estates,
foundations and other nonprofit entities, employee benefit plans,

corporations, partnerships or other business entities throughout the State of
North Carolina;

b. the provision of investment management services to individuals, trusts,
estates, foundations and other nonprofit entities, employee benefit plans,
corporations, partnerships and other businesses throughout the State of
North Carolina;

c. calling upon, soliciting, assisting in the solicitation of or providing
fiduciary or investment management services to clients of U.S. Trust; and

d. soliciting and/or assisting in the solicitation of U.S. Trust employees; and

e. disclosing and transmitting records and documents concerning the
business and affairs of U.S. Trust, including those reflecting the names,
addresses, e-mail addresses, telephone numbers and investment and asset
holdings of U.S. Trust clients.

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66. | Upon information and belief, and as Plaintiff expects to establish upon further
investigation and discovery, Stanford Group encouraged and supported the individuals in their
efforts, and offered or provided significant financial incentives to the individuals based on U.S.
Trust client revenue procured for the benefit of Stanford Group.

67. | Upon information and belief, and as Plaintiff expects to establish upon further
investigation and discovery, Stanford Group encouraged and supported the individuals in their
efforts to obtain and to convert to personal use and gain the information contained in U.S. Trust’s
records, U.S. Trust’s property, confidential customer information used to conduct U.S. Trust’s
business, U.S. Trusts trade secrets, and the goodwill generated, directly and indirectly, by the
former employees through their association with U.S. Trust, and to do so by means of, inter alia,
a secret, unlawful raid and improper solicitation of clients of U.S. Trust who the individuals’
either serviced or who became known to them while at U.S. Trust.

68. On July 9, 2007, U.S. Trust, through counsel, notified Stanford Group of the post-
employment obligations of the Greensboro team.

69. Despite this notification, Stanford Group has continued to employ the Greensboro
team and allowed, if not encouraged the breach of the post-employment obligations to U.S.
Trust.

70. In addition, upon information and belief, Stanford Group by and through
members of the Greensboro team, continued its efforts to unfairly compete with U.S. Trust by
inducing Tracy Ross and Rhonda Tate to leave U.S. Trust and join its Greensboro office.

F. Stanford Group’s Wrongful Conduct with Respect to Wilks

71. Following the mass resignation of the Greensboro team, Stanford Group

continued its raid on U.S. Trust, and induced Wilks to resign his employment.

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72. Wilks resigned from U.S. Trust on July 31, 2007, and was next employed by

Stanford Group.

73. Upon information and belief, following his commencement of employment with

the Stanford Group, Wilks used U.S. Trust trade secrets and confidential information to

commence a pre-planned and systematic campaign of contacting U.S. Trust’s clients by phone,

e-mail and letter. This campaign was designed to induce U.S. Trust’s clients to terminate their

relationships with U.S. Trust and transfer their business to the Stanford Group.

74, Upon information and belief, Wilks is engaging in, and plans to continue to

engage in, inter alia, the following acts:

a.

the provision of fiduciary services to individuals, trusts, estates,
foundations and other nonprofit entities, employee benefit plans,
corporations, partnerships or other business entities throughout the State of
North Carolina;

the provision of investment management services to individuals, trusts,
estates, foundations and other nonprofit entities, employee benefit plans,
corporations, partnerships and other businesses throughout the State of
North Carolina;

calling upon, soliciting, assisting in the solicitation of or providing
fiduciary or investment management services to clients of U.S. Trust; and

soliciting and/or assisting in the solicitation of U.S. Trust employees; and

disclosing and transmitting records and documents concerning the
business and affairs of U.S. Trust, including those reflecting the names,
addresses, e-mail addresses, telephone numbers and investment and asset
holdings of U.S. Trust clients.

75. Upon information and belief, and as Plaintiff expects to establish upon further

investigation and discovery, Stanford Group encouraged and supported Wilks in his efforts, and

has offered or provided significant financial incentives to Wilks based on U.S. Trust client

revenue procured for the benefit of Stanford Group.

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76. | Upon information and belief, and as Plaintiff expects to establish upon further
investigation and discovery, Stanford Group encouraged and supported Wilks in his efforts to
obtain and to convert to personal use and gain the information contained in U.S. Trust’s records,
U.S. Trust’s property, confidential customer information used to conduct U.S. Trust’s business,
U.S. Trust’s trade secrets, and the goodwill generated, directly and indirectly, by Wilks through
his former association with U.S. Trust, and to do so by means of, inter alia, a secret, unlawful
raid and improper solicitation of clients of U.S. Trust who Wilks either serviced or who became
known to him while at U.S. Trust.

FIRST CLAIM FOR RELIEF
TORTIOUS INTERFERENCE WITH CONTRACTUAL RELATIONS

77. The allegations of the preceding paragraphs are realleged and incorporated in this
claim for relief by reference.

78. Plaintiff has legal, reasonable and enforceable contracts and agreements with
members of the Greensboro team, Ross, Tate and Wilks.

79. Upon information and belief, through either members of the Greensboro team,
Ross, Tate or Wilks, the Stanford Group knew or should have known of the existence of these
contracts, and nevertheless tortiously induced, aided and encouraged the Greensboro team, Ross,
Tate and Wilks to breach these contractual obligations and agreements.

80. The Stanford Group’s conduct was and is without privilege or justification.

81. Upon information and belief, as a result of the Stanford Group’s inducement,
members of the Greensboro team, Ross, Tate and/or Wilks breached said contracts as outlined
above by, inter alia, using or disclosing U.S. Trust’s confidential business information and/or

trade secrets and/or soliciting U.S. Trust’s clients and/or employees.

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82. As a consequence of the foregoing, U.S. Trust has suffered and will continue to
suffer irreparable harm and loss.
SECOND CLAIM FOR RELIEF
TORTIOUS INTERFERENCE WITH CONTRACTUAL RELATIONS —
RELATIONS WITH U.S. TRUST CLIENTS

83. The allegations of the preceding paragraphs are realleged and incorporated in this
claim for relief by reference.

84. Plaintiff has existing business relations with its clients, which relations the
Greensboro team, Ross, Tate, and/or Wilks knew about through their employment with U.S.
Trust and as a result of their duties in providing services to U.S. Trust’s clients, which
knowledge is also now imputed to the Stanford Group.

85. The foregoing conduct by the Stanford Group was intended to cause the breach or
termination of Plaintiff's business relations with one or more of its clients.

86. | Defendant’s conduct was and is without privilege or justification.

87. Upon information and belief, Defendant had an improper motive and/or used
improper means to interfere with Plaintiff's business relations with its clients, including by the
Greensboro team, Ross, Tate and Wilks to breach their duty of loyalty and fiduciary duty, and
violating their contractual obligations and agreements.

88. As a consequence of the foregoing, U.S. Trust has suffered and will continue to

suffer irreparable harm and loss.

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THIRD CLAIM FOR RELIEF
UNFAIR TRADE PRACTICES

89. The allegations of the preceding paragraphs are realleged and incorporated in this
claim for relief by reference.

90. Stanford Group’s inducement of U.S. Trust employees to resign en mass,
benefited Stanford Group through the appropriation of U.S. Trust’s intellectual knowledge and
was designed to damage U.S. Trust’s business.

91. Stanford Group’s unlawful and wrongful activities described herein are unfair
methods of competition, unfair and deceptive acts or practices, and unconscionable business
conduct, all in violation of the common law and Chapter 75 of the North Carolina General
Statutes.

92. — Those actions were “in or affecting commerce” as that phrase is defined by N.C.
Gen. Stat. § 75-1.1.

93. The Stanford Group’s unfair trade practices have directly and proximately caused
or will directly and proximately cause damage to Plaintiff's business. The full extent of
Plaintiff's injury caused by Defendant’s conduct is incapable of exact proof at this time.

94. Pursuant to N.C. Gen. Stat. § 75-16, Plaintiff is entitled to treble their actual
damages. Pursuant to N.C. Gen. Stat. § 75-16.1, Plaintiff is entitled to their reasonable
attorney’s fees incurred in the prosecution of this action.

95. Asa consequence of the foregoing, U.S. Trust has suffered and will continue to

suffer irreparable harm and loss.

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FOURTH CLAIM FOR RELIEF
MISAPPROPRIATION OF TRADE SECRETS

96. The allegations of the preceding paragraphs are realleged and incorporated in this
claim for relief by reference.

97. Stanford Group’s unlawful and wrongful activities described herein are a
misappropriation of Plaintiff's trade secrets, in violation of the common law and Chapter 66 of
the North Carolina General Statutes.

98. Upon information and belief, in violation of N.C. Gen, Stat. § 66-152 (1),
Defendant has acquired, disclosed, or used a trade secret of U.S. Trust without express or
implied authority or consent.

99. Upon information and belief, such trade secret was not arrived at by independent
development, reverse engineering, or obtained from another person with a right to disclose the
trade secret.

100. Upon information and belief, U.S. Trust’s confidential business information,
obtained by former U.S. Trust employees, was used by Stanford Group, otherwise, the same
former U.S. Trust employees could not have assembled the business it enjoys today.

101. As a consequence of the foregoing, U.S. Trust has suffered and will continue to
suffer irreparable harm and loss.

REQUEST FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that the Court:
1. Award Plaintiff all equitable relief that it is entitled to under the facts and

applicable law;

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2. Award Plaintiff compensatory damages, punitive damages, attorneys’ fees, pre-
judgment and post-judgment interest, and costs based on the claims for relief set forth above; and

3. Award Plaintiff any other relief the Court deems proper.

Respectfully submitted this ___ day of November, 2007.

HELMS MULLISS & WICKER, PLLC.

/s/ John G. McDonald
irving M. Brenner

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